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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )           4:01CR3106
                        Plaintiff,          )
                                            )
     vs.                                    )           ORDER
                                            )
MARY M. NEGETHON,                           )
                                            )
                  Defendant.                )


     IT IS ORDERED that a revocation hearing is set to commence at

12:00 p.m. on January 5, 2006 before the Hon. Richard G. Kopf,

United States District Judge, in Courtroom #1, United States

Courthouse, Lincoln, Nebraska.


     Dated: December 22, 2005.


                             BY THE COURT

                             s/ David L. Piester

                             David L. Piester
                             United States Magistrate Judge
